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                                                                              Thursday, 21 September, 2017 09:34:19 AM
R&R (9/28120 I I)
                                                                                            Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                        for the
                                               Central District of lllinois




UNITED STATES OF AMERICA

          vs.                                           Case No. 17-30018-01

EBONIE C. DIXON



                    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

          The United States of America and the Defendant having both filed a written consent, appeared before

me pursuant to Rule 11 , Fed. R. Crim. P. and CDIL Rule 72.l(A)(24). The Defendant entered a plea of guilty

to Counts 1, 2, and 3 of the Superseding Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined that the guilty pleas were knowing and

voluntary as to each count, and that the offenses charged are supported by an independent factual basis

containing each of the essential elements of such offenses. I therefore recommend that the pleas of guilty be

accepted, that a pre-sentence investigation and report be prepared, and that the Defendant be adjudged guilty

and have sentence imposed accordingly.


  9/20/2017                                                      s\ Tom Schanzle-Haskins
Date                                                             TOM SCHANZLE-HASKINS
                                                                 UNITED STATES MAGISTRATE JUDGE



                                                      NOTICE

        Failure to file written objections to this Report and Recommendation within fourteen (14) days from the
date of its service, being the Court's electronic service, shall bar an aggrieved party from attacking such Report
and Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
